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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


  FLOR PARRA RODRIGUEZ,
       Plaintiff,                                           No. 3:25-cv-616 (SRU)

          v.

  KRISTI NOEM, et al.,
       Defendants.

                           PRELIMINARY INJUNCTION ORDER

       On April 18, 2025, Plaintiff Flor Parra Rodriguez (“Parra Rodriguez”) filed a complaint

against Secretary of the U.S. Department of Homeland Security Kristi Noem, U.S. Immigration

and Customs Enforcement Acting Director Todd Lyons, the U.S. Department of Homeland

Security, and U.S. Immigration and Customs Enforcement (collectively, “Defendants”). See

generally Doc. No. 1. Parra Rodriguez’s complaint raises three claims: (1) unlawful termination

of her SEVIS record in violation of the Administrative Procedure Act (the “APA”), 5 U.S.C. §

701, et seq.; (2) violation of procedural due process in violation of the APA, 5 U.S.C. § 701, et

seq.; and (3) violation of the Fifth Amendment of the United States Constitution. Am. Compl.,

Doc. No. 15 at 14-16.

       That same day, Parra Rodriguez moved for a temporary restraining order (“TRO”),

preliminary injunction, or stay under 5 U.S.C. § 705 that: (1) Orders Defendants to restore Parra

Rodriguez’s SEVIS record to prevent ongoing harm to her and set aside their termination

decision, pending resolution of this litigation; (2) Enjoins or stays Defendants from taking

adverse immigration action against Parra Rodriguez as retaliation for the present litigation, such

as issuing a Notice to Appear in Removal Proceedings against Parra Rodriguez or detaining her
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due to her immigration status; and (3) Enjoin[s] Defendants from unlawfully terminating Parra

Rodriguez’s F-1 student status under the SEVIS system. See Doc. No. 4 at 1; Doc. No. 4-1 at 6.

        For the following reasons, Parra Rodriguez’s motion for a preliminary injunction is

granted, Doc. No. 4.


I.      Background

        Congress enacted 8 U.S.C. § 1101(a)(15)(F)(i) to provide the statutory basis and process

for obtaining student visas. See Am. Compl., Doc. No. 15 ¶ 35. Student visas, or F-1 visas,

allow foreign students to attend a U.S. college or university under certain conditions, including:

(1) pursuing “a full course of study” in an approved academic institution; (2) possessing

“sufficient funds to cover expenses while in the United States[;]” and (3) intending “to depart on

termination of student status.” 22 C.F.R. § 41.61; 8 C.F.R. § 214.1(a)(2) (classing nonimmigrant

student visas under 8 U.S.C. § 1101(a)(15)(F)(i) as “F-1” visas). Additionally, according to the

Foreign Affairs Manual (“FAM”), the “Student Exchange and Visitor Information System

(SEVIS) is designed to monitor the academic progress, movement, etc. of foreign students . . .

from entry into the United States to departure.” 9 FAM 402.5-4(A).1 “The Student and

Exchange Visitor Program (SEVP) manages SEVIS.” Id. A division within Immigration and

Customs Enforcement (“ICE”) administers the SEVP. Id.




1
  “The [United States State] Department articulates official guidance, including procedures and policies, on matters
relating to Department management and personnel in the Foreign Affairs Manual (FAM) and the Foreign Affairs
Handbook (FAH) series. . . . The FAMs and FAHs that are publicly available are located on the Department's public
website, at https://fam.state.gov/.” 22 C.F.R. § 5.5. See also U.S. Dep’t of State, Foreign Affairs Manual: Public,
https://fam.state.gov/ (last visited May 1, 2025) (“The Foreign Affairs Manual (FAM) and associated Handbooks
(FAHs) are a single, comprehensive, and authoritative source for the Department's organization structures, policies,
and procedures that govern the operations of the State Department, the Foreign Service and, when applicable, other
federal agencies. The FAM (generally policy) and the FAHs (generally procedures) together convey codified
information to Department staff and contractors so they can carry out their responsibilities in accordance with
statutory, executive and Department mandates.”).

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       “[T]he SEVIS record is the definitive record of student or exchange visitor status and visa

eligibility.” 9 FAM 402.5-4(B). A foreign student’s SEVIS record determines whether the

student is issued a visa. Id. (“You should issue [F-1 visas] only to visa applicants whose SEVIS

record indicates a SEVIS status of ‘initial’ or ‘active.’”). All foreign students, except those

sponsored by the U.S. government, must pay the SEVIS fee before interviewing for a visa. 9

FAM 402.5-4(C); U.S. Immigr. & Customs Enf’t, I-901 SEVIS Fee Frequently Asked Questions,

https://perma.cc/23VM-5QK7 (last visited May 1, 2025) (listing the SEVIS fee for an F-1 visa as

$350). To maintain their status, foreign students with F-1 visas must work toward completing a

“full course of study” and abide by certain employment guidelines. 8 C.F.R. §§ 214.2(f)(6), (9).

       Parra Rodriguez is a citizen and national of Mexico physically present in the U.S. and

currently a full-time Ph.D. student at Yale University (“Yale”). Am. Compl., Doc. No. 15 ¶¶ 2,

21; Parra Rodriguez Aff., Doc. No. 25 ¶ 4. Yale employs her as a teaching assistant, and she

intends to work as a research assistant at Yale during the summer of 2025. Am. Compl., Doc.

No. 15 ¶¶ 2, 21; Parra Rodriguez Aff., Doc. No. 25 ¶ 4. Most recently, she renewed her F-1 visa

in July 2023 after Yale accepted her as a Ph.D. student; her visa was valid until July 13, 2027.

Am. Compl., Doc. No. 15 ¶ 2; Doc. No. 4-1 at 6-7. Parra Rodriguez was last admitted to the

United States on F-1 student visa status on March 2, 2025. Am. Compl., Doc. No. 15 ¶ 2; Doc.

No. 4-1 at 6-7; Parra Rodriguez Aff., Doc. No. 25 ¶ 4. Parra Rodriguez alleges that, “at all

times,” she has “properly maintained her status” by sustaining “a course load sufficient to qualify

as a full-time student,” not being unlawfully employed, and not “otherwise violat[ing] the terms

of her F-1 student visa.” Am. Compl., Doc. No. 15 ¶¶ 22, 34. The Defendants have not

suggested otherwise.




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       Between 2018 and 2022, Parra Rodriguez held an F-1 visa to attend college in the United

States. Id. ¶ 3; Parra Rodriguez Aff., Doc. No. 25 ¶ 5. Parra Rodriguez alleges she was

regularly and lawfully admitted to the United States on an F-1 student visa throughout her

studies. Am. Compl., Doc. No. 15 ¶ 3. Although she was charged with retail theft on or around

August 13, 2019, the charge was dropped and the court “entered a disposition of not guilty” on

December 30, 2019. Id. ¶¶ 4, 23; Parra Rodriguez Aff., Doc. No. 25 ¶¶ 6-7. Therefore, Parra

Rodriguez “has no criminal conviction” based on that charge. Am. Compl., Doc. No. 15 ¶ 24.

Further, Parra Rodriguez “provided records of this non-conviction to the Department of State

when applying to renew her F-1 visa, and her visa was renewed without issue.” Id.; Parra

Rodriguez Aff., Doc. No. 25 ¶ 8.

       On April 10, 2025, Parra Rodriguez received an email from the U.S. State Department

stating that “additional information became available after your visa was issued. As a result, your

F-1 visa with expiration date 13-Jul-2027 has been revoked under Section 221(i) of the United

States Immigration and Nationality Act[.]” Am. Compl., Doc. No. 15 ¶¶ 5, 26; Parra Rodriguez

Aff., Doc. No. 25 ¶ 9. The email also notified Parra Rodriguez that:

       Remaining in the United States without lawful immigration status can result in
       fines, detention and/or deportation. It may also make you ineligible for a future U.S.
       visa. Please note that deportation can take place at a time that does not allow the
       person being deported to secure possessions or conclude affairs in the United States.
       Persons being deported may be sent to countries other than their countries of origin.

Am. Compl., Doc. No. 15 ¶¶ 6, 27; Parra Rodriguez Aff., Doc. No. 25 ¶ 11. On the same day,

Parra Rodriguez received an email from her “Designated School Official” (“DSO”) at Yale. Am.

Compl., Doc. No. 15 ¶¶ 8, 31; Parra Rodriguez Aff., Doc. No. 25 ¶ 12. Her DSO advised Parra

Rodriguez that, as of April 9, 2025, her “SEVIS record had been terminated by the Department

of Homeland Security” (“DHS”). Id. In the email, her DSO stated the reason for Parra



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Rodriguez’s SEVIS record termination was “[i]ndividual identified in [a] criminal records check

and/or has had their visa revoked. SEVIS record has been terminated.” Id.

       Parra Rodriguez was informed that Yale did not make the decision to terminate the

SEVIS record. Am. Compl., Doc. No. 15 ¶ 32; Parra Rodriguez Aff., Doc. No. 25 ¶ 12.

Nonetheless, Yale advised Parra Rodriguez that, effectively immediately, she would “lose her

position as a Teaching Assistant and the funding for that position because of Defendants’

termination of her SEVIS record.” Am. Compl., Doc. No. 15 ¶ 9. See also Parra Rodriguez

Aff., Doc. No. 25 ¶ 13.

       DHS and ICE provided “no advance warning or any other formal notification . . . [of]

their intent to revoke her visa and terminate her SEVIS record.” Am. Compl., Doc. No. 15 ¶ 10.

Notably, Parra Rodriguez “received no formal SEVIS [record] termination notice from ICE or

any other agency.” Id. ¶ 33.

        Parra Rodriguez alleges that “there was no new information available to Defendants that

had not been previously disclosed to government agencies and [warranting] the revocation of

[her] visa and termination of her SEVIS account.” Id. ¶ 12, 30. See also Parra Rodriguez Aff.,

Doc. No. 25 ¶ 10 (“[T]he Department of State already knew about this charge and result. I have

had no other contact with the authorities in the United States since that incident over five years

ago.”). Further, Defendants’ termination of Parra Rodriguez’s SEVIS record subjects her to “the

imminent possibility of unlawful presence, detention, deportation, and future visa restrictions.”

Am. Compl., Doc. No. 15 ¶ 13. See also Parra Rodriguez Aff., Doc. No. 25 ¶ 14.


II.    Procedural History

       On April 18, 2025, Parra Rodriguez filed her complaint under the pseudonym Jane Doe

and moved for injunctive relief. See generally Docs. No. 1, 4. On April 19, 2025, I issued an


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order to preserve jurisdiction. Doc. No. 7. That order states that: “the Defendants, their

officers, agents, servants, employees, and attorneys, as well as all persons in active concert or

participation with them, are enjoined from removing the plaintiff from the District of

Connecticut or deporting the plaintiff from the United States. . . . This order shall remain in

effect until further order of the court, to preserve this court’s jurisdiction to consider the merits of

the case.” Id. at 3.

        On April 21, 2025, I held a hearing to discuss Parra Rodriguez’s anonymity and a

briefing schedule for the Defendants’ response to Parra Rodriguez’s motion for a temporary

restraining order, preliminary injunction, or stay. After the hearing, Parra Rodriguez filed an

amended complaint in which she disclosed her identity on April 21, 2025. Doc. No. 15.

        On April 24, 2025, I notified the parties that, at the April 29 hearing on Parra Rodriguez’s

motion, I would consider whether to grant a temporary restraining order, preliminary injunction,

or stay. Doc. No. 22.

        During the April 29 hearing, the parties confirmed that Defendant DHS restored Parra

Rodriguez’s SEVIS record on April 26, 2025. Additionally, her teaching assistant position was

reinstated due to her SEVIS record reactivation. However, there remains a gap in Parra

Rodriguez’s SEVIS record during the time after Defendants terminated it, from April 9, 2025 to

April 26, 2025.


III.    Standard of Review

        Federal Rule of Civil Procedure 65 requires courts to give notice to the adverse party

before issuing a preliminary injunction; a court may issue a TRO without written or oral notice.

Fed. R. Civ. P. 65(a)-(b). Every preliminary injunction and TRO must: “[] state the reasons why

it issued; [] state its terms specifically; and [] describe in reasonable detail—and not by referring


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to the complaint or other document—the act or acts restrained or required.” Fed. R. Civ. P.

65(d)(1).

        “It is well established that in this Circuit the standard for [entering] a TRO is the same as

for a preliminary injunction.” Andino v. Fischer, 555 F. Supp. 2d 418, 419 (S.D.N.Y. 2008)

(collecting cases). To obtain a preliminary injunction, the plaintiff must show: “that he is likely

to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in his favor, and that an injunction is in the public

interest.” Glossip v. Gross, 576 U.S. 863, 876 (2015) (citing Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008)). A movant seeking to demonstrate a likelihood of success on the

merits “need not show that success is an absolute certainty. He need only make a showing that

the probability of his prevailing is better than fifty percent. There may remain considerable room

for doubt.” Abdul Wali v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985), overruled on unrelated

grounds by O'Lone v. Estate of Shabazz, 482 U.S. 342 (1987). Additionally, plaintiffs “need not

show that there is a likelihood of success on the merits of all of their claims for relief. Rather,

they must show a likelihood of success on the merits of at least one of their claims.” Westchester

Legal Servs., Inc. v. Westchester Cnty., 607 F. Supp. 1379, 1382 (S.D.N.Y. 1985).

        However, where a movant seeks a “mandatory preliminary injunction that alters the

status quo,” rather than a “prohibitory injunction seeking only to maintain the status quo,” the

burden of proof is more stringent. Cacchillo v. Insmed, Inc., 638 F.3d 401, 406 (2d Cir. 2011).

In that instance, a movant must demonstrate a “clear” or “substantial” likelihood of success on

the merits. See Doninger v. Niehoff, 527 F.3d 41, 47 (2d Cir. 2008).




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IV.      Discussion

      A. Whether Parra Rodriguez is likely to succeed on the merits of her underlying claims

         Parra Rodriguez’s complaint brings three counts: (1) unlawful termination of her SEVIS

record in violation of the Administrative Procedure Act (the “APA”), 5 U.S.C. § 701, et seq.; (2)

violation of procedural due process in violation of the APA, 5 U.S.C. § 701, et seq.; and (3)

violation of the Fifth Amendment due process clause of the United States Constitution. Am.

Compl., Doc. No. 15 at 14-16. For the following reasons, I find she is likely to succeed on the

merits of count one of her complaint. Because Parra Rodriguez only needs to show she is likely

to succeed on one claim, I do not analyze whether she is likely to succeed on her remaining two

claims. Westchester Legal Servs., Inc., 607 F. Supp. at 1382.


         1. Unlawful termination of her SEVIS record in violation of the APA, 5 U.S.C. § 701, et
            seq.

         F-1 visa revocation and SEVIS record termination are separate processes with distinct

preconditions. ICE policy guidance states that “[v]isa revocation is not, in itself, a cause for

termination of [a] student’s SEVIS record.” Student and Exchange Visitor Program – Policy

Branch, U.S. Immigr. & Customs Enf’t, U.S. Dep’t of Homeland Sec., SEVP Policy Guidance

1004-04 – Visa Revocations 3 (June 7, 2010), https://perma.cc/ZM2S-R6Z6 (last visited May 1,

2025) (Attached as Exhibit A to this Order.). Revoking a student’s F-1 visa does not

automatically require the student to leave the country or lead to them accumulating unlawful

presence. A student present in the United States under an F-1 visa may remain lawfully present

in the United Status even if their F-1 visa is revoked so long as they “maintain status.” 22 C.F.R.

§ 41.122 (listing the grounds for visa revocation but not stating a revoked visa equates to

unlawful presence). However, a student whose visa is revoked may be denied re-entry if they

leave the United States and attempt to return.

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       There are two ways a student’s SEVIS record can be lawfully terminated: if a student

fails to “maintain their status” or if the agency terminates their status. 8 C.F.R. § 214.2(f)(5); 8

C.F.R. § 214.1(d). “Maintaining status” refers to a nonimmigrant student’s “F-1 status.” See 8

C.F.R. § 214.1(a)(2)-(3) (designating nonimmigrant student classification as “F-1” and

discussing maintenance of status). Whether a student maintains their F-1 status is entirely

separate from whether a student obtains or holds an F-1 visa. Compare 8 C.F.R. § 212.1

(describing a “valid unexpired visa” as a “documentary requirement”) with 8 C.F.R. §

214.2(f)(5) (“Duration of status is defined as the time during which an F-1 student is pursuing a

full course of study at an educational institution certified by SEVP for attendance by foreign

students . . . .”). An F-1 visa is solely a document used to enter the United States. U.S. Dep’t of

State, Bureau Consular Affs., What is a U.S. Visa?, https://perma.cc/8SEJ-6TAS (last visited

May 1, 2025) (“A citizen of a foreign country who seeks to enter the United States generally

must first obtain a U.S. visa, which is placed in the traveler’s passport, a travel document issued

by the traveler’s country of citizenship.”).

       To maintain their status, an F-1 visa holder must “pursu[e] a full course of study at an

educational institution certified by SEVP for attendance by foreign students” and not “violate[]

the terms of their student visa.” 8 C.F.R. § 214.2(f); Doc. No. 4-1 at 11-12 (citing 8 C.F.R. §§

214.1(e)-(g)). F-1 visa terms prohibit: (1) engaging in unauthorized employment; (2) providing

false information; and (3) being convicted for a crime of violence “for which a sentence of more

than one year imprisonment may be imposed (regardless of whether such sentence is in fact

imposed).” 8 C.F.R. §§ 214.1(e)-(g).

       Defendants may terminate an F-1 visa holder’s status in three defined scenarios. A

nonimmigrant student’s “status . . . shall be terminated by the revocation of a waiver authorized



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on his or her behalf under section 212(d)(3) or (4) of the Act;2 by the introduction of a private

bill to confer permanent resident status on such [nonimmigrant student]; or, pursuant to

notification in the Federal Register, on the basis of national security, diplomatic, or public safety

reasons.” 8 C.F.R. § 214.1(d). Neither party alleges that any of those three situations apply to

Parra Rodriguez.3 See Doc. No. 4-1 at 13 (“Plaintiff was not previously granted a waiver under

INA § 212(d)(3) or (4), no private bill to confer her with lawful permanent residence has been

introduced in Congress, and DHS has not published a notification in the Federal Register

identifying national security, diplomatic, or public safety reasons for the termination.”); Doc. No.

26 at 17.

        Pursuant to the APA, a court reviewing an agency’s decision “shall . . . hold unlawful and

set aside agency action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(a)(2)(A). Parra

Rodriguez argues that “Defendants’ termination of her SEVIS record was arbitrary, capricious,

an abuse of discretion, and otherwise not in accordance with law.” Doc. No. 4-1 at 11. The only

explanation Defendants provided for why they terminated Parra Rodriguez’s SEVIS record was

that she was “identified in [a] criminal records check and/or has had [her] visa revoked.” Am.

Compl., Doc. No. 15 at ¶¶ 8, 31; Parra Rodriguez Aff., Doc. No. 25 ¶ 12.




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  Those provisions refer to certain situations in which the Attorney General may waive the application for the
“[t]emporary admission of nonimmigrants.” 8 U.S.C. § 1182(d); Visas: Waiver for Ineligible Nonimmigrants, 84
Fed. Reg. 19712 (May 6, 2019) (to be codified at 22 C.F.R. pt. 40) (“Section 212(d)(3)(A)(i) of the INA, 8 U.S.C. §
1182(d)(3)(A)(i), authorizes the Department of Homeland Security to approve a waiver covering most grounds in
section 212(a) of the INA, if the Secretary of State or a consular officer recommends that the alien be admitted
temporarily into the United States, despite the inadmissibility.”).
3
  Defendants cite to 8 U.S.C. § 1201(i) for the proposition that it provides reasons for terminating nonimmigrant
status. Doc. No. 26 at 17. However, section 1201(i) concerns revoking visas and other entry documents. As
explained above, and as Defendants concede, visa revocation is entirely separate from F-1 status and SEVIS record
termination.

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         The pertinent regulations and statutes do not permit Defendants to lawfully terminate

Parra Rodriguez’s SEVIS record. There are no facts demonstrating Parra Rodriguez has failed to

maintain her F-1 visa status: she maintains a full course of study, works only in authorized

employment positions, and has no criminal convictions. Parra Rodriguez does not have a

criminal conviction preventing her from “maintaining her status,” and there are no other

applicable grounds for terminating her SEVIS record. 8 C.F.R. § 214.1(d) (delineating the

reasons for which a student’s F-1 status may be revoked). Her present F-1 status was determined

and her F-1 visa granted in July 2023, well after the 2019 criminal charge was dropped, she was

pronounced not guilty, and the State Department was notified of her criminal case disposition.

Am. Compl., Doc. No. 15 at ¶¶ 2-4, 23-25; Parra Rodriguez Aff., Doc. No. 25 ¶¶ 6-8. Further,

F-1 visa revocation is not grounds for SEVIS record termination. Ex. A, Student and Exchange

Visitor Program – Policy Branch, U.S. Immigr. & Customs Enf’t, U.S. Dep’t of Homeland Sec.,

SEVP Policy Guidance 1004-04 – Visa Revocations 3 (June 7, 2010), https://perma.cc/ZM2S-

R6Z6 (last visited May 1, 2025).

         Defendants argue that the Privacy Act precludes this court’s review of Parra Rodriguez’s

APA claim because the Privacy Act triggers the sovereign immunity waiver exception in section

702 of the APA. Doc. No. 26 at 2, 10-15. See 5 U.S.C. § 702 (“Nothing herein . . . confers

authority to grant relief if any other statute that grants consent to suit expressly or impliedly

forbids the relief which is sought.”). Parra Rodriguez does not assert a Privacy Act violation; in

fact, she cannot sue under the Privacy Act because she is a nonimmigrant student. 4 5 U.S.C. §

552a (“[T]he term ‘individual’ means a citizen of the United States or an alien lawfully admitted



4
 Parra Rodriguez does include a prayer for relief under The Privacy Act in her amended complaint. Am. Compl.,
Doc. No. 15 at 17. That prayer is ineffectual because she does not allege Defendants violated the Privacy Act. Id. at
14-16.

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for permanent residence . . . .”). Further, she does not seek to amend her SEVIS record, but

rather for Defendants to fully reinstate it with no gaps in status resulting from Defendants’

unlawful termination of it. F.A.A. v. Cooper, 566 U.S. 284, 310 n.4 (2012) (“[I]njunctive relief

is available under the [Privacy] Act only for a limited category of suits: suits to amend a record

and suits for access to a record.”); Reinbold v. Evers, 187 F.3d 348, 361 (4th Cir. 1999) (“[T]he

Privacy Act does not allow a court to alter records that accurately reflect an administrative

decision, or the opinions behind that administrative decision.”); Bishop v. Off. of Pers. Mgmt.,

514 F. App'x 104, 105 (3d Cir. 2013) (affirming dismissal of a complaint because the plaintiff

sought to “relitigate the merits of his termination” rather than correct personnel records). Parra

Rodriguez’s requested relief is a substantive challenge to Defendants’ decision to terminate her

record rather than merely correcting the accuracy of that record.

       The Privacy Act permits a person to contest the accuracy of administrative
       records. It supposes that there is a distinction between “records” and “decisions.”
       So if, for example, the Civil Aeronautics Board revoked a pilot's license after
       finding that he had performed a barrel roll 500 feet over the stands of Soldier
       Field in Chicago, the (ex) pilot could use the Privacy Act to ensure that the record
       said that the offending maneuver took place at a height of 500 feet rather than,
       say, 50 feet (which would have posed much greater risk to the audience). He
       could not use the Privacy Act to contest the decision that he did indeed perform a
       low-level stunt—for the document recording that decision would be a wholly
       accurate rendition of what the CAB concluded. If an agency errs, the right
       response is not to rewrite history, changing the record in Orwellian fashion to
       pretend that it reached some other conclusion. The right response to error is to
       correct the disposition under the Administrative Procedure Act.

Douglas v. Agric. Stabilization & Conservation Serv., 33 F.3d 784, 785 (7th Cir. 1994)

(emphasis added). “[T]he Privacy Act does not permit a court to alter documents that accurately

reflect an administrative action, no matter how contestable the conclusion may be.” Id.

       Defendants’ position that the Privacy Act precludes Parra Rodriguez from challenging

their actions under the APA is unsupported by caselaw and the Privacy Act itself. The Supreme

Court recently held that the Privacy Act and other laws “can coexist harmoniously” and that
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parties face a “heavy burden” in showing one statute “displaces” a second. Dep't of Agric. Rural

Dev. Rural Hous. Serv. v. Kirtz, 601 U.S. 42, 63 (2024); Epic Sys. Corp. v. Lewis, 584 U.S. 497,

510 (2018) (“A party seeking to suggest that two statutes cannot be harmonized, and that one

displaces the other, bears the heavy burden of showing a clearly expressed congressional

intention that such a result should follow.”) (internal citation and quotation marks omitted). In

Doe v. Chao, the Supreme Court noted how “[t]he Privacy Act says nothing about standards of

proof governing equitable relief,” and opined that “this inattention is explained by the general

provisions for equitable relief within the Administrative Procedure Act (APA), 5 U.S.C. § 706.”

540 U.S. 614, 619 n.1 (2004). The Supreme Court’s reference to the Privacy Act incorporating

the APA’s equitable relief standard of proof supports the inference that the two statutes “coexist

harmoniously” rather than conflict. Id.; Kirtz, 601 U.S. at 63. Additionally, district courts have

held that, in certain situations, plaintiffs must seek judicial review under the APA before seeking

relief under the Privacy Act. See White v. U.S. Civ. Serv. Comm'n, 589 F.2d 713, 715 (D.C. Cir.

1978) (holding an amendment action under the Privacy Act was “inappropriate and premature”

because plaintiff had not yet sought judicial review under the APA.). See also All. for Retired

Americans v. Bessent, 2025 WL 740401, at *19 (D.D.C. Mar. 7, 2025) (“[T]he availability of a

Privacy Act suit for damages does not take this case outside the scope of the waiver of sovereign

immunity in § 702 of the APA and does not affect this Court's subject-matter jurisdiction over

Plaintiffs’ APA claims.”). The Privacy Act does not trigger the sovereign immunity waiver

exception in the APA because Defendants have not met the “heavy burden” of showing that the

Privacy Act displaces the APA. Kirtz, 601 U.S. at 63.

       Defendants also contend that “APA review is unavailable here because there is no final

agency action before the Court.” Doc. No. 26 at 2, 15-17. Under the APA, “an appeal to



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‘superior agency authority’ is a prerequisite to judicial review only when expressly required by

statute or when an agency rule requires appeal before review and the administrative action is

made inoperative pending that review.” Darby v. Cisneros, 509 U.S. 137, 154 (1993) (quoting 5

U.S.C. § 704). There is no statute or agency regulation requiring appeal of a SEVIS record

termination before review and Defendants’ termination of a SEVIS record is not “made

inoperative pending that review.” Id. See also Jie Fang v. Dir. United States Immigr. &

Customs Enf't, 935 F.3d 172, 185 (3d Cir. 2019) (“The order terminating the students’ F-1 visa

status was therefore a final order for jurisdictional purposes because there was no further

opportunity for review.”); Doe v. Noem, 2025 WL 1161386, at *6 n.5 (W.D. Va. Apr. 21, 2025)

(holding the termination of SEVIS record is final agency action which a court has jurisdiction to

review). The same reasoning applied in Jie Fang applies here: (1) “there is no statutory or

regulatory requirement that a student seek reinstatement” of their SEVIS record; (2) “there is no

mechanism to review the propriety of the original [SEVIS] termination order[;]” and (3)

“uninitiated removal proceedings cannot be a prerequisite to finality when there is no guarantee

that such proceedings will ever occur.” Jie Fang, 935 F.3d at 182-84.

       Contrary to Defendants’ argument, legal consequences do flow from SEVIS record

termination. When a SEVIS record is terminated: (1) a student loses all on- and off-campus

employment authorization; (2) the student cannot re-enter the United States; and (3) ICE agents

may investigate the student to confirm their departure. U.S. Dep’t of Homeland Sec., Terminate

a Student – Effects of Termination (Nov. 7, 2024), https://perma.cc/2NZT-9EH5 (last visited

May 1, 2025); Doc. No. 26 at 16.

       Defendants’ SEVIS record termination is “final agency action for which there is no other

adequate remedy in a court [and is] subject to judicial review.” 5 U.S.C. § 704. See also Du v.



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United States Dep’t of Homeland Sec., 2025 WL 1220254, at *5 (D. Conn. Apr. 28, 2025)

(holding defendants’ termination of plaintiffs’ SEVIS record was final agency action).

          For the foregoing reasons, I conclude that Parra Rodriguez has demonstrated a clear and

substantial likelihood of success on the merits of her claim that her SEVIS termination was

arbitrary, capricious, and unlawful under the APA. Because Parra Rodriguez maintained her

status at all relevant times, Defendants terminated her SEVIS record without statutory and

regulatory authority and failed to provide an explanation for why they terminated her SEVIS

record.


    B. Whether Parra Rodriguez will experience irreparable harm absent injunctive relief

          “Irreparable harm exists where, but for the grant of equitable relief, there is a substantial

chance that upon final resolution of the action the parties cannot be returned to the positions they

previously occupied.” Lazor v. Univ. of Connecticut, 560 F. Supp. 3d 674, 678 (D. Conn. 2021)

(quoting United States SEC v. Daspin, 557 F. App’x 46, 48 (2d Cir. 2014)) (internal quotation

marks omitted).

          Defendants argue “the Supreme Court has held that the possibility of detention and

deportation ‘cannot constitute the requisite irreparable injury’ necessary for preliminary

injunctive relief.”5 Doc. No. 26 at 3 (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). Parra

Rodriguez does not rely solely on her potential removal to prove she will suffer irreparable

harm—Parra Rodriguez demonstrates “[t]here is an actual and imminent risk that she will be

forced to disenroll from her studies, leave the country immediately, and abandon her Ph[.]D.”

Doc. No. 4-1 at 14. See also Parra Rodriguez Aff., Doc. No. 25 ¶ 14. Parra Rodriguez


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  Defendants both misquote and misstate the Supreme Court’s holding in Nken v. Holder, 556 U.S. 418 (2009),
which does not address detention. Id. at 435 (“[T]he burden of removal alone cannot constitute the requisite
irreparable injury.”) (emphasis added).

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establishes that, if she stays and “accumulate[s] unlawful presence, it is likely that she will be

precluded from obtaining an F-1 visa to continue her studies in the future.” Id. Additionally, she

risks being “subjected to detention, removal proceedings, and deportation.” Id. Finally, she

continues to “suffer substantial emotional and psychological distress” due to Defendants’

actions. Id.

       The myriad of cases around the United States involving international students being

detained and facing removal proceedings proves there is nothing speculative or hypothetical

about the irreparable harm Parra Rodriguez is experiencing and may continue to experience. See

Ozturk v. Trump, 2025 WL 1145250 (D. Vt. Apr. 18, 2025) (ordering ICE to transfer a Tufts

University student detained in ICE custody back to the District of Vermont); Khalil v. Joyce,

2025 WL 849803, at *3-4 (S.D.N.Y. Mar. 19, 2025) (describing how a Columbia University

student was detained by ICE and moved from New York to New Jersey to Louisiana). See also

Ashley Mowreader, International Student Visas Revoked, Inside Higher Ed.,

https://perma.cc/N9PM-SSUH (last visited May 1, 2025).

       Dozens of courts have held termination of a student’s SEVIS record under similar or

identical circumstances to Parra Rodriguez’s constitutes irreparable harm and granted

preliminary relief based on that finding. See Doe v. Noem, 2025 WL 1161386, at *6-7 (W.D.

Va. Apr. 21, 2025) (finding irreparable harm where a student’s SEVIS record was terminated

and entering a TRO); Ajugwe v. Noem, 2025 WL 1148689, at *3-4 (M.D. Fla. Apr. 18, 2025)

(same); Isserdasani v. Noem, 2025 WL 1118626, at *5-6 (W.D. Wis. Apr. 15, 2025) (same); Roe

v. Noem, 2025 WL 1114694, at *3-5 (D. Mont. Apr. 15, 2025) (same); Doe v. Noem, 2025 WL

1134977, at *8-9 (E.D. Cal. Apr. 17, 2025) (same); Oruganti v. Noem, 2025 WL 1144560, at *3-

8 (S.D. Ohio Apr. 18, 2025) (same); Ratsantiboon v. Noem, 2025 WL 1118645, at *2-3 (D.



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Minn. Apr. 15, 2025) (same); Patel v. Bondi, 2025 WL 1134875, at *2-3 (W.D. Pa. Apr. 17,

2025) (same); Chen v. Noem, 2025 WL 1163653, at *10-13 (S.D. Ind. Apr. 21, 2025) (same);

Daou v. Noem, 2025 WL 1148687, at *3-4 (M.D. Fla. Apr. 18, 2025) (same).


       1. SEVIS record reinstatements and new ICE policy

       On April 25, 2025, Defendant ICE represented that it is changing course in cases where it

has recently terminated nonimmigrant students’ SEVIS records. See generally Doe v. Trump et

al., Dkt. No. 4:25-cv-03140-JSW, Doc. No. 47 (Attached as Exhibit B to this Order.).

Defendants asserted they were “developing a policy that will provide a framework for SEVIS

record terminations.” Id. at 4. “Until such a policy is issued, the SEVIS records for the plaintiffs

in these above-captioned cases (and other similarly situated plaintiffs) will remain Active or shall

be re-activated if not currently active.” Id. ICE stated that the “SEVIS records will remain

active until ICE’s new policy is implemented.” Id.

       On April 30, 2025, it became publicly available that ICE internally circulated a broadcast

message entitled “SEVIS Notice – Policy Regarding Termination of Records” on April 26, 2025.

Patel v. Lyons, Dkt. No. 1:25-cv-1096, Doc. No. 16-1 at 2 (“April 29 SEVIS Notice”) (Attached

as Exhibit C to this Order.). Specifically, the policy states that “[a] terminated record in SEVIS

could indicate that the nonimmigrant no longer maintains F . . . status.” Ex. C, April 29 SEVIS

Notice at 2. The new policy does not contain a process for notice and opportunity to respond

prior to termination of SEVIS records by ICE. Id. The policy does explicitly list the reasons for

which SEVP, administered by Defendant ICE, can terminate SEVIS records. Id. (listing

exceeded unemployment time, failure to comply with I-515A, failure to repay the I-901 fee

chargeback, failure to report while on OPT, no show, school withdrawn, violation of change of




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status requirements, change of status approved, evidence of a failure to comply with the terms of

nonimmigrant status exists, and U.S. Department of State visa revocation).

       The parties agree that Defendants reinstated Parra Rodriguez’s SEVIS record. That fact

does not moot this action. “A defendant's voluntary cessation of allegedly unlawful conduct

ordinarily does not suffice to moot a case.” Friends of the Earth, Inc. v. Laidlaw Env't Servs.

(TOC), Inc., 528 U.S. 167, 174 (2000). “Such abandonment is an important factor bearing on . . .

whether a court should exercise its power to enjoin the defendant from renewing the practice, but

that is a matter relating to the exercise rather than the existence of judicial power.” City of

Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283, 289 (1982). “A case might become moot if

subsequent events made it absolutely clear that the allegedly wrongful behavior could not

reasonably be expected to recur.” United States v. Concentrated Phosphate Exp. Ass'n, 393 U.S.

199, 203 (1968).

       Defendants’ voluntary reinstatement of Parra Rodriguez’s SEVIS record does not show

her SEVIS record termination cannot “reasonably be expected to recur.” Id. Although ICE

reinstated Parra Rodriguez’s SEVIS record, Defendants’ actions have left her without a visa and

with a gap in her SEVIS record. Further, ICE implemented a new policy that would allow

Defendants to terminate her SEVIS record again without her formal notice and the opportunity

to be heard. Without injunctive relief, Parra Rodriguez is once again at risk of losing her ability

to complete her Ph.D. program, detention, and removal due to a potentially arbitrary, capricious,

and unlawful decision by Defendants.

       Defendants claim, without any legal citation, that “[t]erminating a record in SEVIS does

not terminate an individual’s nonimmigrant status in the United States.” Watson Decl., Doc. 27

¶ 10; Doc. No. 26 at 6, 16. “Such a statement, standing alone, cannot suffice to satisfy the heavy



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burden of persuasion which we have held rests upon those in [Defendants’] shoes.” United

States v. Concentrated Phosphate Exp. Ass'n, 393 U.S. at 203. Further, that proposition runs

counter to what Defendants argue is the purpose of SEVP and SEVIS records: to “manage[] and

track[] nonimmigrants in the F . . . categor[y]” and to “closely monitor foreign students . . . by

vigorously enforcing statutory and regulatory requirements.” Watson Decl., Doc. 27 ¶ 3.

       Defendants’ assertion that terminating a SEVIS record does not affect a nonimmigrant’s

legal status rings hollow when considering the practical implications of a SEVIS record

termination and Defendants’ own policy. Effectively, SEVIS records are how Defendants

monitor a nonimmigrant student’s legal status—therefore, a termination of a SEVIS record, as

viewed by SEVP, is a termination in lawful status. See 9 FAM 402.5-4(B) (“[T]he SEVIS record

is the definitive record of student or exchange visitor status and visa eligibility.”) (emphasis

added). “When SEVP has objective evidence that a nonimmigrant visa holder is no longer

complying with the terms of their nonimmigrant status for any reason, then the SEVIS record

may be terminated on that basis.” Ex. C, April 29 SEVIS Notice at 3. Once a SEVIS record is

terminated, ICE has the discretion to investigate and “initiate removal proceedings pursuant to

INA § 237(a)(1)(C)(i) based on evidence that a nonimmigrant student is not complying with the

terms of their nonimmigrant status.” Id. When Parra Rodriguez’s SEVIS record was terminated

and her visa revoked, Defendants could have, based on their own “definitive records,” detained

and deported her. See 9 FAM 402.5-4(B). Practically, ICE’s April 26 policy directly contradicts

Defendants’ claim that their termination of a SEVIS record does not affect a students’ legal

status because a SEVIS record termination can lead directly to removal. Ex. C, April 29 SEVIS

Notice at 3.




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        ICE’s new policy still allows Defendants’ to unilaterally terminate her SEVIS record due

to the revocation of her F-1 visa. Id. (“If [the U.S. State Department] revokes a nonimmigrant

visa effective immediately, SEVP may terminate the nonimmigrant’s SEVIS record based on the

visa revocation with immediate effect, as such a revocation can serve as a basis of removability

under INA § 237(a)(1)(B).”). Until she applies and is approved for a new visa, which may take

up to 180 days, Defendants may terminate her SEVIS record at any time. 8 U.S.C § 1571(b)

(stating an immigration benefit application should be processed no later than 180 days after its

filing). If Defendants terminate her SEVIS record again, she will be ineligible for a visa and

susceptible to removal proceedings. 9 FAM 402.5-4(B) (“You should issue [F-1 visas] only to

visa applicants whose SEVIS record indicates a SEVIS status of ‘initial’ or ‘active.’”); Ex. C,

April 29 SEVIS Notice at 3 (“When [the U.S. State Department] revokes a [nonimmigrant

student’s] visa with immediate effect, ICE should take steps to initial removal proceedings.”)

(emphasis added). Further, Parra Rodriguez’s SEVIS record is still tarnished by a 17-day gap in

her lawful status.6

        Parra Rodriguez successfully alleges injuries “that [are] neither remote nor speculative,

but actual and imminent and that cannot be remedied by an award of monetary damages.” New

York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 660 (2d Cir. 2015) (quoting Forest City

Daly Hous., Inc. v. Town of N. Hempstead, 175 F.3d 144, 153 (2d Cir. 1999). She now has a 17-

day gap in her SEVIS record due to Defendants’ termination of her SEVIS record and her visa

remains revoked. I therefore conclude Parra Rodriguez would face irreparable harm absent



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  One immigration benefit to which Parra Rodriguez is no longer entitled due to that 17-day gap is a program
extension granted by Yale’s DSO. 8 C.F.R. § 214.2 (“An F–1 student who is unable to meet the program completion
date on the Form I–20 or successor form may be granted an extension by the DSO if the DSO certifies that the
student has continually maintained status and that the delays are caused by compelling academic or medical reasons,
such as changes of major or research topics, unexpected research problems, or documented illnesses.”) (emphasis
added).

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injunctive relief, despite reinstatement of her SEVIS record. See Du v. United States Dep’t of

Homeland Sec., 2025 WL 1220254, at *5 (D. Conn. Apr. 28, 2025) (finding irreparable harm and

granting plaintiff students’ motion for a TRO despite recent reinstatement of SEVIS records);

Doe No. 1 v. Noem, 2025 WL 1224783, at *5-7 (E.D. Pa. Apr. 28, 2025) (same).


   C. Whether the balance of equities tips in Parra Rodriguez’s favor and whether an injunction
      is in the public interest

           “Where, as here, the government is a party to the suit, the final two [preliminary

   injunction] factors merge.” New York v. United States Dep't of Homeland Sec., 969 F.3d 42,

   58-59 (2d Cir. 2020). Parra Rodriguez has also demonstrated that the balance of the

   hardships tip in her favor and that the public interest would not be disserved by issuing a

   preliminary injunction.

           Defendants claim their interest in “enforce[ing] the provisions of the Immigration and

   Nationality Act [(“INA”)] relating to the Department’s ability to update and maintain the

   information in SEVIS” will be “infringed” if I grant Parra Rodriguez preliminary relief. Doc.

   No. 26 at 25. However, Parra Rodriguez’s SEVIS record was not lawfully terminated

   pursuant to the INA or relevant regulations. Therefore, restoring her SEVIS record to the

   status it was before Defendants terminated it on April 9, without any gaps in active status,

   will not infringe on Defendants’ interest. Further, granting Parra Rodriguez the relief she

   requests will do nothing to prevent Defendants from continuing to “develop and administer”

   SEVP. Id. at 24. Conversely, refusing to enjoin Defendants would result in Parra Rodriguez

   losing the integrity of her SEVIS record which could result in harming her chances in

   successfully reapplying for a visa and obtaining other future immigration benefits.

           Additionally, there is substantial public interest in ensuring government agencies

   abide by federal laws and regulations. See New York v. Trump, 490 F. Supp. 3d 736, 747
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     (S.D.N.Y. 2020); Islam v. Cuomo, 475 F. Supp. 3d 144, 160 (E.D.N.Y. 2020). “[T]here is

     generally no public interest in the perpetuation of unlawful agency action. . . . To the

     contrary, there is substantial public interest in having governmental agencies abide by the

     federal laws that govern their existence and operations.” League of Women Voters of U.S. v.

     Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal citations and quotation marks omitted);

     Planned Parenthood of New York City, Inc. v. U.S. Dep't of Health & Hum. Servs., 337 F.

     Supp. 3d 308, 343 (S.D.N.Y. 2018).

            Parra Rodriguez has no criminal convictions. She poses no threat to the community

     to which she has belonged for almost two years. In fact, enjoining Defendants, and thereby

     upholding the rule of law, will affirmatively serve the public interest.


V.      Requested Relief

        A prohibitory preliminary injunction seeks to “maintain the status quo,” whereas a

mandatory injunction “modif[ies] the status quo.” Yang v. Kosinski, 960 F.3d 119, 127 (2d Cir.

2020); Tom Doherty Assocs., Inc. v. Saban Ent., Inc., 60 F.3d 27, 34 (2d Cir. 1995) (“The typical

preliminary injunction is prohibitory and generally seeks only to maintain the status quo pending

a trial on the merits. . . . A mandatory injunction, in contrast, is said to alter the status quo . . . .”).

The “status quo” is “defined as ‘the last peaceable uncontested status preceding the present

controversy.’” JLM Couture, Inc. v. Gutman, 91 F.4th 91, 105 (2d Cir. 2024) (citing Mastrio v.

Sebelius, 768 F.3d 116, 121 (2d Cir. 2014)).

        I agree with Parra Rodriguez that her requested relief maintains the status quo because it

restores her SEVIS record and F-1 status to “the last peaceable uncontested status preceding the

present controversy.” JLM Couture, Inc. v. Gutman, 91 F.4th at 105. See Doc. No. 4-1 at 10.




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Thus, I construe Parra Rodriguez’s requested relief as a prohibitory preliminary injunction, rather

than a mandatory preliminary injunction.

       However, Parra Rodriguez also meets the heightened standard of review for a mandatory

preliminary injunction if I consider her requested relief as “alter[ing] the status quo.” Cacchillo

v. Insmed, Inc., 638 F.3d 401, 406 (2d Cir. 2011). As described above, Parra Rodriguez has

demonstrated a clear and substantial likelihood of success on the merits. See Doninger v.

Niehoff, 527 F.3d 41, 47-48 (2d Cir. 2008).

       In her motion for a TRO, preliminary injunction, or stay, Parra Rodriguez requests the

following relief: (1) An order requiring Defendants to restore Para Rodriguez’s SEVIS record to

prevent ongoing harm to her and set aside their termination decision, pending resolution of this

litigation; (2) An injunction preventing Defendants from taking adverse immigration action

against Parra Rodriguez as retaliation for the present litigation, such as issuing a Notice to

Appear in Removal Proceedings against her or detaining her pursuant to her immigration status;

and (3) An injunction preventing Defendants from unlawfully terminating Parra Rodriguez’s F-1

student status under the SEVIS system. Doc. No. 4 at 1; Doc. No. 4-1 at 6. One of Parra

Rodriguez’s requests is moot: her SEVIS record is restored. However, her SEVIS record

contains a 17-day gap that was not present before Defendants terminated her SEVIS record on

April 9. Parra Rodriguez is also still at risk of having her SEVIS record terminated again and

being subject to removal proceedings because her visa was revoked.

       Defendants argue that I lack authority to grant Parra Rodriguez’s requested relief because

“[t]he INA divests this Court of jurisdiction over discretionary decisions concerning DHS’s

decision to initiate removal proceedings.” Doc. No. 26 at 20; 8 U.S.C. § 1252(g) (“[N]o court

shall have jurisdiction to hear any cause or claim by or on behalf of any alien arising from the



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decision or action by the Attorney General to commence proceedings, adjudicate cases, or

execute removal orders against any alien under this chapter.”). The Second Circuit holds that

whether the district court has jurisdiction in a suit brought against immigration authorities turns

on the substance of the relief a plaintiff seeks and whether a plaintiff seeks review of a

discretionary decision by the Attorney General. Delgado v. Quarantillo, 643 F.3d 52, 55 (2d

Cir. 2011); Liu v. I.N.S., 293 F.3d 36, 41 (2d Cir. 2002) (citing Chmakov v. Blackman, 266 F.3d

210, 215 (3d Cir. 2001) (“[Section 1252(g)] limits the power of federal courts to review the

discretionary decisions of the Attorney General to commence proceedings, adjudicate cases, or

execute removal orders.”)). See also Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S.

471, 487 (1999) (reading section 1252(g) narrowly and stating it applies to only a limited subset

of deportation claims).

       Parra Rodriguez does not seek relief related to ongoing removal proceedings and is not

challenging the Attorney General’s discretionary authority; she seeks review of Defendants’

unlawful decision to terminate her SEVIS record and the subsequent consequences stemming

from this termination. Courts have held similar challenges to not fall under section 1252(g)’s

purview. See Ozturk v. Trump, 2025 WL 1145250, *10, 14-15 (D. Vt. Apr. 18, 2025) (holding

that 8 U.S.C. § 1252(g) does not limit the court's review where plaintiff raised constitutional and

legal challenges to her detention that are separate from removal proceedings); Doe v. Noem,

2025 WL 1134977, at *7 (E.D. Cal. Apr. 17, 2025) (“[H]ere, plaintiff seeks a temporary stay

preventing removal, which is permitted under 8 U.S.C. § 1252(g) where the basis for the stay is

distinct from how the government's prosecutorial discretion was deployed.”); Chen v. Noem,

2025 WL 1163653, at *10 (S.D. Ind. Apr. 21, 2025) (“The Court concludes, at least at this stage,

that it may enjoin Defendants from imposing any consequences, including detention and



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removal, of the termination of Chen's SEVIS record and F-1 status.”) (collecting cases where

similar injunctive relief ordered).

       Therefore, I enjoy jurisdiction to order her requested relief and to enjoin Defendants

because Parra Rodriguez’s request for relief does not “aris[e] from [a] decision or action by the

Attorney General” to commence proceedings, adjudicate cases, or execute removal orders under

the INA.


VI.    Security

       The Second Circuit “reject[s] the argument that a bond is always required when a

preliminary injunction is granted.” Colgan Financial Group, Inc. v. First 100, LLC, 2014 WL

12748082, at *1 (D. Conn., 2014) (citing Ferguson v. Tabah, 288 F. 2d 665, 675 (2d Cir. 1961)).

A district court has “wide discretion” to waive bond “where there [is] no proof of likelihood of

harm.” Ferguson, 288 F. 2d at 675. Some courts will also consider “the strength of a movant’s

case in analyzing the likelihood of harm to a potentially wrongfully enjoined nonmovant.”

Golden Krust Patties, Inc. v. Bullock, 957 F. Supp. 2d 186, 203 (E.D.N.Y. 2013)); Doctor's

Assocs. LLC v. Hai, 2019 WL 2385597, at *5 (E.D.N.Y. June 6, 2019). See also New York City

Triathlon, LLC v. NYC Triathlon Club, Inc., 704 F. Supp. 2d 305, 345 (S.D.N.Y. 2010)

(“Defendant has not demonstrated it will likely suffer any harm absent the posting of a bond, and

the likelihood of success on the merits is overwhelming.”).

       I exercise my discretion to waive the bond requirement set forth in Rule 65(c) of the

Federal Rules of Civil Procedure at this time because Parra Rodriguez brings strong claims

against Defendants and the likelihood of harm to Defendants is almost nonexistent.




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VII.     Conclusion

         For the foregoing reasons, Parra Rodriguez’s motion for a preliminary injunction is

granted. Doc. No. 4. Accordingly, it is ORDERED that the Defendants, their officers, agents,

servants, employees, and attorneys, as well as all persons in active concert or participation with

them:

         (1) Shall restore Parra Rodriguez’s SEVIS record and set aside their termination decision

            so there are no gaps in her SEVIS record;

         (2) Are enjoined from terminating Parra Rodriguez’s SEVIS record; and

         (3) Are enjoined from taking adverse immigration action against Parra Rodriguez as

            retaliation for the present litigation, such as issuing a Notice to Appear in Removal

            Proceedings against Parra Rodriguez or detaining her pursuant to her immigration

            status

until final judgment is entered in this case.

         So ordered.

Dated at Bridgeport, Connecticut, this 1st day of May 2025.


                                                              /s/ STEFAN R. UNDERHILL
                                                              Stefan R. Underhill
                                                              United States District Judge




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